       Case 3:19-cv-00178 Document 1 Filed on 05/28/19 in TXSD Page 1 of 7




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

 JARED MCNEEL, et al.                            §
     Plaintiffs                                  §
                                                 §
 VS.                                             §     CIVIL ACTION NO. 3:19-cv-178
                                                 §
 KIDDIE ACADEMY                                  §
 INTERNATIONAL, INC., et al.                     §
     Defendants                                  §


                                  NOTICE OF REMOVAL


       Defendant,     KIDDIE        ACADEMY          DOMESTIC   FRANCHISING,      LLC

(“Defendant”), files this Notice of Removal. In support hereof, Defendant respectfully

shows the following:

                                  The Grounds for Removal

       This Court has original jurisdiction of this action under diversity jurisdiction

pursuant to 28 U.S.C. §§ 1332(a)(1), 1441(b) and 1446. The action may be removed to

this Court pursuant to 28 U.S.C. §§ 1441(a) and 1446 because the only remaining parties

to this suit are citizens of different states.

                                     Diversity Jurisdiction

       1.      On October 17, 2018, Plaintiffs filed suit against Defendants, Kiddie

Academy International, Inc., Bullock’s Bright Beginnings, L.L.C. and Cory Bullock and

Summer Bullock, Individually and d/b/a Kiddie Academy of League City, in the case

styled Jared McNeel and Lindsey McNeel, Individually and As Natural Representatives
      Case 3:19-cv-00178 Document 1 Filed on 05/28/19 in TXSD Page 2 of 7




of the Estate of Skylar Mae McNeel, Deceased. v. Kiddie Academy International, Inc., et

al., Cause No. 18-CV-1455; in the 405th Judicial District Court of Galveston County,

Texas. Plaintiffs demanded a jury in the Original Petition.

      2.     Plaintiffs filed their First Amended Petition on December 4, 2018 and

joined Defendant, Essential Brands, Inc.

      3.     On February 20, 2019, Plaintiffs joined and subsequently served Kiddie

Academy Domestic Franchising, LLC with a copy of Plaintiffs’ Third Amended Petition,

Jury Demand and Request for Disclosure to Defendants.            Plaintiffs omitted co-

Defendants, Kiddie Academy International, Inc. and Essential Brands, Inc., from the

Third Amended Petition, effectively dismissing them from suit.

      4.     As alleged in Plaintiffs’ Third Amended Petition, Plaintiffs contend

Defendants, individually and collectively, were negligent and grossly negligent in the

care and supervision of three-month old Skylar McNeel, Deceased, while she was in the

care of Kiddie Academy of League City. As a result of Defendants’ alleged conduct,

Plaintiffs seek damages for the survival claims and wrongful death of Skylar McNeel

totaling in excess of $1,000,000.00.

      5.     On May 2, 2019, the Court entered the Order Granting Agreed Motion to

Dismiss With Prejudice of co-Defendants, Bullock’s Bright Beginnings, L.L.C. d/b/a

Kiddie Academy, Bullock’s KA2, LLC d/b/a Kiddie Academy, Bullock’s KA3, LLC

d/b/a Kiddie Academy, Cory Bullock, Individually, and Summer Bullock, Individually.

As referenced in the Order, the only remaining Defendant is Kiddie Academy Domestic

Franchising, LLC.


                                            2
      Case 3:19-cv-00178 Document 1 Filed on 05/28/19 in TXSD Page 3 of 7




       6.     The partial Order of Dismissal resulted in the dismissal of all resident

Defendants on May 2, 2019.

       7.     The 30-day time frame within which Kiddie Academy Domestic

Franchising, LLC is required by the laws of the United States, 28 U.S.C. § 1446(b)(3), to

file this Notice of Removal has not yet expired, and Plaintiffs’ suit was originally filed on

October 17, 2018. Therefore, this Notice of Removal is timely filed, less than one year

from the date suit was filed. 28 U.S.C. §§ 1446(b)(3) and 1446(c)(1).

       8.     This court has subject matter jurisdiction over this civil action based on the

diversity of the parties, under 28 U.S.C. § 1332(a)(1). It is a civil action where the matter

in controversy exceeds the sum or value of $75,000, exclusive of interest and costs,

because the Plaintiffs have sought in excess of $1,000,000 in damages, as set forth in

their pleadings.   In addition, this action is between the citizens of different states.

Therefore, this action is one which may be removed to this court by Kiddie Academy

Domestic Franchising, LLC pursuant to the provisions of 28 U.S.C. §1441(b)(3).

       9.     Based on a review of the Order Granting Agreed Motion to Dismiss With

Prejudice, Plaintiffs, who are citizens of Texas, have dismissed all of their claims against

the resident Defendants and citizens of Texas. Specifically, each of the Defendants

dismissed in the Order are citizens of Texas, as reflected in Plaintiffs’ Third Amended

Petition. The only remaining Defendant is Kiddie Academy Domestic Franchising, LLC.

Kiddie Academy Domestic Franchising, LLC is a citizen of Delaware and Maryland.

Kiddie Academy Domestic Franchising, LLC is a limited liability company that

maintains its principle place of business in Maryland and was formed in Delaware. The


                                             3
      Case 3:19-cv-00178 Document 1 Filed on 05/28/19 in TXSD Page 4 of 7




sole member of Kiddie Academy Domestic Franchising, LLC is Essential Brands, Inc.

Essential Brands, Inc. is also a citizen of Maryland and Delaware, as it maintains its

principle place of business in Maryland and was incorporated in Delaware.

       10.    Based on the diversity of citizenship between the remaining parties, this

court has original subject matter jurisdiction over this civil action under 28 U.S.C. §

1332(a)(1) in that it is a civil action between the citizens of different states and the

alleged value exceeds $75,000 in controversy.

       11.    Venue is proper in this district court under 28 U.S.C. § 1441(a) because the

state court where the action has been pending is located in this district and division.

                         Compliance with Removal Procedures

       12.    In accordance with 28 U.S.C. § 1446(a), all of the process and pleadings

served upon Defendants in this action to date are attached to this notice:

              a.     Plaintiffs’ Original Petition, Jury Demand and Request for
                     Disclosure to Defendants and Requests for Issuance of Service
                     (Exhibit 1);

              b.     Status Conference Sheet (Exhibit 2);

              c.     Returns of Service (Exhibit 3);

              d.     Original Answer of Bullock Defendants (Exhibit 4);

              e.     Plaintiffs’ First Amended Original Petition, Jury Demand and
                     Request for Disclosure to Defendants and Requests for Issuance of
                     Service (Exhibit 5);

              f.     Returns of Service (Exhibit 6);

              g.     Defendants Kiddie Academy International, Inc. and Essential
                     Brands, Inc.’s Original Answer, Application for Jury Trial and Letter
                     to District Clerk (Exhibit 7);


                                              4
     Case 3:19-cv-00178 Document 1 Filed on 05/28/19 in TXSD Page 5 of 7




               h.    Certificate of Written Discovery and Letter to District Clerk
                     (Exhibit 8);

               i.    Docket Control Order (Exhibit 9);

               j.    Certificate of Written Discovery (Exhibit 10);

               k.    Plaintiffs’ Second Amended Original Petition, Jury Demand and
                     Request for Disclosure to Defendants (Exhibit 11);

               l.    Plaintiffs’ Third Amended Original Petition, Jury Demand and
                     Request for Disclosure to Defendants (Exhibit 12);

               m.    Defendant’s, Kiddie Academy Domestic Franchising, LLC, Original
                     Answer and Application for Jury Trial (Exhibit 13);

               n.    Certificate of Written Discovery (Exhibit 14);

               o.    Notice of Intention to Take Deposition by Written Questions
                     (Exhibit 15);

               p.    Agreed Motion to Dismiss With Prejudice with Proposed Order
                     (Exhibit 16);

               q.    Certificate of Written Discovery (Exhibit 17);

               r.    Order Granting Agreed Motion to Dismiss With Prejudice (Exhibit
                     18);

               s.    Copy of Notice (Exhibit 19); and

               t.    Proposed Agreed Order Protecting Confidential Information (Exhibit
                     20).

         13.   In accordance with Local Rule LR81, Defendant further attaches executed

copies of the following forms required for cases removed to the Southern District of

Texas:

               u.    Docket Sheet (Exhibit 21);



                                            5
      Case 3:19-cv-00178 Document 1 Filed on 05/28/19 in TXSD Page 6 of 7




               v.    An index of matters being filed (Exhibit 22);

               w.    Civil Cover Sheet JS-44 (Exhibit 23); and

               x.    A list of all counsel of record, including address, telephone numbers
                     and parties represented (Exhibit 24).

         14.   As required by 28 U.S.C. § 1446(d), Defendant will promptly provide

notice to Plaintiffs and file a true and correct copy of this Notice of Removal with the

clerk of the state court where this action has been pending.

                                Preservation of Defenses

         15.   By filing this Notice of Removal, Defendant does not waive any defense

which may be available to it.

         FOR THESE REASONS, Defendant, KIDDIE ACADEMY DOMESTIC

FRANCHISING, LLC, prays that this cause be removed to the United States District

Court for the Southern District of Texas, Galveston Division, pursuant to 28 U.S.C.

§1441.




                                             6
      Case 3:19-cv-00178 Document 1 Filed on 05/28/19 in TXSD Page 7 of 7




                                         Respectfully submitted,



                                         By:    /s/ David L. Miller
                                                David L. Miller
                                                Attorney-in-Charge
                                                SBN: 14067300
                                                Federal I.D. #8833
                                                Miller, Scamardi & Carrabba, P.C.
                                                6525 Washington Avenue
                                                Houston, Texas 77007-2112
                                                TEL: (713) 861-3595
                                                FAX: (713) 861-3596
                                                dmiller@msc-lawyer.com
                                                e-service@msc-lawyer.com

                                         ATTORNEYS FOR DEFENDANT,
                                         KIDDIE ACADEMY DOMESTIC
                                         FRANCHISING, LLC

OF COUNSEL:
Diane F. Burgess
SBN: 24036594
Federal I.D. #34380
Miller, Scamardi & Carrabba, P.C.
6525 Washington Avenue
Houston, Texas 77007
TEL: (713) 861-3595
FAX: (713) 861-3596
dburgess@msc-lawyer.com


                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing instrument
has been served upon all counsel of record via electronic transmission (ECF), certified
mail, return receipt requested and/or facsimile, pursuant to Rule 5b, FED. R. CIV. P., on
this 28th day of May 2019.


                                                      /s/ David L. Miller
                                                David L. Miller / Diane F. Burgess


                                            7
